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                    Exhibit B
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Professional Fees By Activity

                       Activity                        Hours             Fees
Assets Sales                                              139.20    $     40,627.50
Claims Analysis                                             33.10   $      8,689.00
Depos, Trial Preparation                                    21.10   $      6,224.50
Financial Analysis and Review                             704.90    $    187,714.00
Financial Projections and Feasibility                       18.70   $      4,675.00
General Case Strategy                                     116.80    $     33,501.50
Liquidation Analysis                                        20.90   $      5,355.50
Misc. Motions and Responses                                 73.50   $     20,097.00
Operating Reports                                           56.30   $     13,629.50
Plan and Disclosure Statement                             161.30    $     47,471.00
Travel Time - No charge                                       -     $           -
Fee Application, Monthly Statement Preparation                -     $           -
                                                         1,345.80   $        367,984.50

Total Expenses                                                      $          8,241.05

Total Due                                                           $        376,225.55

Less Payments Received:                            November         $         16,832.25
                                                   February         $        170,441.69
                                                   March            $         65,738.87
                                                                    $        253,012.81

Unpaid Balance                                                      $        123,212.74
